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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

                                          )
RICKY R. FRANKLIN                         )       Civil Action No: 17-1640-RGA
                                          )
         Plaintiff,                       )
                                          )
v.                                        )
                                          )
NAVIENT, INC.,                            )
and                                       )
                                          )
STUDENT ASSISTANCE, INC.,                 )
                                          )
         Defendants                       )



  PLAINTIFF’S MOTION FOR LEAVE TO FILE NEW EVIDENCE IN
 SUPPORT OF HIS MOTION FOR RECONSIDERATION (D.I. 43 and 48)


            Plaintiff by and thru himself, respectfully requests leave to file new

evidence which is relevant to his Motion for Reconsideration (D.I. 43 and 48).

Plaintiff submits new evidence that his alleged loan with Defendants Navient Inc.,

and Student Assistance Inc., (hereinafter, “Defendants”) was not guaranteed or

owed to the United States Government as brief by the Defendants Motion for

summary judgment filed in November of 2018. (D.I. 32 and D.I. 32-1) This

evidence further supports Plaintiffs Reply Brief (D.I. 37) and Motion for

Reconsideration and Reply (D.I. 43, 48) on why the Defendants are liable for
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violations involving the Telephone Consumer Protection Act (TCPA), 47 U.S.C. §

227 et seq.


   On March 03, 2020, Plaintiff ordered his credit report from the three major

credit reporting agencies, Equifax, Transunion, and Experian. On the report it

shows that Plaintiffs loan with the Defendants was sold to another company in July

of 2018. (Exhibit 2) Not only was the loan sold before the Defendants filed for

summary judgement claiming that Plaintiff loan was owed to the Government, but

the reports show that Plaintiff loan is owned by a trust, specifically, Deutsche Bank

ELT SLM Trust. The securitization of a loan begins with a financial institution

assembling a pool of receivables on loans that it made or acquired. Eventually,

these private loans are sold to investors from trusts called asset-backed securities.

(See Exhibit 3).


   In July of 2018, Defendants closed Plaintiffs account and transferred it to

Ascendium f/k/a Great Lakes, which is a private guarantor of loans for its clients.

(See Exhibit 4). Further, Plaintiff called to talked to Ascendium and recorded the

conversation as follows:


Guarantor: What is the most you can pay for the loan
Plaintiff Franklin: I don’t have a past due balance
Guarantor: According to Navient you are 251 days past due.
Plaintiff Franklin: Who are you all, and how did you all get involved?
Guarantor: We are your guarantor on the loan, so we’re like the insurance on the
loan.

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Plaintiff Franklin: Are you sure you are the guarantor on the loan?
Guarantor: Yes...we are responsible for paying off the loan with the lender,
Navient. We are and have always been the guarantor on the loan



   The information learned by Plaintiff is relevant to the arguments that support

Plaintiffs motion for reconsideration and reply. (D.I. 43, 48) Attached as Exhibits

are Plaintiffs 1) Affidavit; 2) credit report (redacted); 3) Sallie Mae Asset backed

securities, 4) Security Exchange Commission’s Trust filing by Ascendium. These

information is very relevant and was unknown by the Plaintiff until March 03,

2020.


Date: March 06, 2020                                         Respectfully submitted,


                                                                 /s/Ricky R. Franklin


                                                                   Ricky R. Franklin

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                         CERTIFICATE OF SERVICE



   I hereby certify that on March 06th, 2020 I electronically file the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification

of such filing to the Defendant’s Counsel listed below:



               STRADLEY RONON STEVENS & YOUNG, LLP

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Plaintiff, Pro-Se

/s/Ricky R. Franklin

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